                                 7+856'$<                                          -XGJH3HWHU&0F.LWWULFN
$0 SFPEN                1253$&)RRGV,QF
                                           &RQWLQXHG+HDULQJ0RWLRQWR5HMHFW&ROOHFWLYH%DUJDLQLQJ
                                           $JUHHPHQWV)LOHGE\-RLQWO\$GPLQLVWHUHG'HEWRUV+HUPLVWRQ
                                           )RRGV//&4XLQF\)RRGV//&'HEWRU1253$&)RRGV,QF
                                            &21:$<7,027+<  
                                           &RQWLQXHG+HDULQJUH2EMHFWLRQ)LOHGE\867UXVWHH86
                                           7UXVWHH(XJHQH5H)LUVW$PHQGHG0RWLRQWR$VVXPH
                                           ([HFXWRU\&RQWUDFW:LWK6KDZQ&DPSEHOO)LOHGE\-RLQWO\
                                           $GPLQLVWHUHG'HEWRUV+HUPLVWRQ)RRGV//&4XLQF\)RRGV//&
                                           'HEWRU1253$&)RRGV,QF 6&+2(1$9$ 0RGLILHGRQ
                                           &RUUHFWHG'RFNHW7H[W NUZ  6FKDIIHU$P\  
                                           1253$&)RRGV,QFGE        0,&+$(/:)/(7&+(5
                                           +HUPLVWRQ)RRGV//&MWGE         0,&+$(/:)/(7&+(5
                                           867UXVWHH(XJHQHXVW            67(3+(13$5127


                                                                         4JHOJOTIFFUBUUBDIFE




(YLGHQWLDU\+HDULQJ                <HV              1R YY

)FBSJOHDPOUJOVFEVOUJM!JO$USN




2UGHUWREHSUHSDUHGE\          &OHUN V2IILFH    &KDPEHUV

'2&.(7(175<




                                                                               5XQ'DWH          
                                 Case 19-62584-pcm11           Doc 398   Filed 11/14/19
Case 19-62584-pcm11   Doc 398   Filed 11/14/19
